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 4                                  UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                     Case No. 2:13-cr-00450-APG-GWF
                                               )
 9   vs.                                       )                     ORDER
                                               )
10   SERGIO ESLI RIVERA,                       )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13           This matter is before the Court on Defendant Sergio Esli Rivera’s Unopposed Motion to Continue
14   Self-Surrender Date (ECF No. 133), filed on October 21, 2016. The Court instructed the Government
15   that if it intended to file an opposition to Defendant’s Motion, it must do so by October 27, 2016. See
16   ECF No. 134. No opposition was filed.
17           Defendant requests a sixty (60) day extension of his self-surrender date from November 4, 2016
18   to the week of January 2, 2017. Defendant represents that he seeks this extension to secure the financial
19   condition of his family. The Government did not oppose Defendant’s Motion and Defendant represents
20   that pre-trial services does not oppose his request. For the above stated reasons and good cause
21   appearing,
22           IT IS HEREBY ORDERED that Defendant Sergio Esli Rivera’s Unopposed Motion to
23   Continue Self-Surrender Date (ECF No. 133) is granted. Defendant shall surrender for service of
24   sentence designated by the Bureau of Prisons by 12 p.m. (noon) on January 3, 2017.
25           DATED this 28th day of October, 2016.
26
27                                                   ______________________________________
                                                     GEORGE FOLEY, JR.
28                                                   United States Magistrate Judge
